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 6                            UNITED STATES DISTRICT COURT
 7                           SOUTHERN DISTRICT OF CALIFORNIA
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 9    CHERAL YN PRECIADO,                                 Case No.: 18-cv-00677-BEN-BLM
10                                         Plaintiff,
                                                          CERTIFICATION TO ATTORNEY
11    v.                                                  GENERAL OF THE STATE OF
                                                          CALIFORNIA
12    SUPERIOR COURT OF CALIFORNIA,
      COUNTY OF SAN DIEGO; ROYAL TY
13
      INVESTMENT PROPERTIES, LLC.,
14                                     Defendant.
15
16         Pursuant to 28 U.S.C. § 2403(b) and Federal Rule of Civil Procedure 5 .1 (b), the
17   court hereby certifies to the Attorney General of the State of California that the
18   constitutionality of California Unlawful Detainer Statute § 1161 (a), a statute affecting the
19   public interest, is drawn into question in the above-captioned case, in which the state is
20   not a party. Pursuant to§ 2403(c), the State shall have 60 days from the date this
21   certification is filed or the date a party, in this case, gave notice pursuant to Rule 5.l(a),
22   whichever is earlier, to intervene.
23         The Clerk of the Court is directed to serve this certification on the Attorney
24   General of the State of California and file the proof of service in the docket.
25         IT IS SO ORDERED.

26
27
     Dated: May
                  -#-      , 2018

28                                                      United States District Judge


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